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                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7
      JASON MORANO,                                      CASE NO. 2:25-cv-00883-JHC
 8
                                                         ORDER
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                         Plaintiff,
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             v.
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      REDFIN CORPORATION ET AL.,
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                       Defendants.
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                                                     I
15
                                              INTRODUCTION
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            This matter comes before the Court on Plaintiff’s Motion for Preliminary Injunction.
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     Dkt. # 23. Plaintiff Jason Morano asks the Court to enjoin the pending shareholder vote on the
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     merger of Defendants Redfin Corporation and Rocket Companies, Inc. Id. at 6. Plaintiff argues
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     this is necessary because the proxy statement Redfin issued to shareholders encouraging them to
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     approve the merger omits material information and an uninformed shareholder vote will cause
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     irreparable harm. Id. The Court has reviewed the materials filed in support of and in opposition
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     to the motion, the record (including the supplemental disclosures and attendant briefing), and the
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     governing law. Being fully advised, for the reasons below, the Court DENIES the motion.
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 1                                                    II

 2                                             BACKGROUND

 3           Redfin is a technology company that provides residential real estate brokerage and

 4   mortgage origination services. Dkt. # 1 at 7, ¶ 29. In late 2024, Redfin’s Board of Directors and

 5   management began discussing strategic alternatives. Dkt. # 17-1 (Proxy) at 6–7. Various parties

 6   inquired into acquiring Redfin, including Defendant Rocket Companies, Inc., a financial

 7   technology company and mortgage lender. Id.; Dkt. # 1 at 7–8, ¶ 30. On December 12, 2024,

 8   Redfin’s Board established a committee of three independent directors (i.e., individuals without

 9   conflicting relationships with the parties interested in a transaction with Redfin) to oversee the

10   Board’s consideration of strategic alternatives. Proxy at 7. The independent committee engaged

11   in due diligence of potential transactions with the aid of Goldman Sachs as a financial advisor.

12   Id. at 8.

13           On March 9, 2025, Redfin and Rocket executed a Merger Agreement. Id. at 16.

14   Defendants say that under the Merger, Rocket would acquire Redfin’s outstanding shares for a

15   premium of about 63% over the volume weighted average price of Redfin’s common stock over

16   the 30 trading days before announcement of the Merger. Proxy at 16. Plaintiff contends that the

17   premium has decreased by at least 16% since the Merger was announced. Dkt. # 29 at 12. On

18   May 5, 2025, Redfin filed its definitive proxy statement about the Merger. Dkt. # 1 at 8, ¶ 33.

19   Redfin’s shareholders are scheduled to vote on whether to approve the Merger on June 4, 2025.

20   Proxy at 16.

21           On May 9, 2025, Plaintiff filed a class action complaint against Defendants alleging

22   violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934, 15 U.S.C.

23   §§ 78n(a), 78t(a), and breach of fiduciary duty claims under Delaware law. Dkt. # 1. Plaintiff

24   then moved for a preliminary injunction to enjoin the June 4, 2025 shareholder vote. Dkt. # 23.


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 1          Plaintiff claims that Redfin’s proxy is misleading for two reasons. First, he contends that

 2   the proxy does not accurately reflect the extent of a possible conflict that Goldman Sachs might

 3   have in acting as Redfin’s financial advisor. He says that on July 2, 2024, Rocket entered into a

 4   Revolving Credit Agreement (the 2024 Revolver) that provided it with access to a $1.15 billion

 5   revolving credit facility funded in part by Goldman Sachs. Dkt. # 23 at 7–8. Although Rocket

 6   would normally pay interest to Goldman Sachs based on outstanding balances under the

 7   Revolver, Rocket has never borrowed funds under the 2024 Revolver. Dkt. # 41 at 3. But the

 8   2024 Revolver nonetheless requires Rocket to pay commitment fees to Goldman Sachs. Dkt. #

 9   23 at 7–8.

10          Plaintiff challenges the proxy’s statements that “Goldman Sachs Investment Banking has

11   an existing lending relationship with Rocket and/or its subsidiaries,” and that “[d]uring the two-

12   year period ended March 9, 2025, Goldman Sachs Investment Banking has not been engaged by

13   Rocket or its affiliates to provide financial advisory or underwriting services for which Goldman

14   Sachs has recognized compensation.” Dkt. # 23 at 11 (emphasis added). He says that this

15   language is “misleadingly clear and incomplete” because the proxy does not disclose the sums

16   that Rocket has paid to Goldman Sachs under the Revolvers or the magnitude of Goldman

17   Sachs’s present lending commitment to Rocket. Id. at 12. According to Plaintiff, these

18   omissions are even more troubling because the proxy concedes the importance of the amounts

19   Rocket has paid to Goldman Sachs by addressing that subject and because the proxy provides far

20   more detailed information about Capped Call Transactions between Redfin and Goldman Sachs.

21   Id.

22          Second, Plaintiff asserts that the proxy does not disclose inputs such as net operating loss

23   carryforwards (NOL Projections) that Goldman Sachs used in preparing a discounted cash flow

24   (DCF) analysis in support of its Fairness Opinion. Id. at 12–13.


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 1          On May 30, 2025, after the instant motion for preliminary injunction was filed, Redfin

 2   filed supplemental disclosures to the proxy statement with the United States Securities and

 3   Exchange Commission (SEC). 1 Dkt. # 47 at 2. The supplemental disclosures provide the NOL

 4   Projections used in preparing the Fairness Opinion, and moot Plaintiff’s disclosure claim about

 5   the NOL Projections. Id. at 5–6 They also inform shareholders that the fees Rocket paid to

 6   Goldman Sachs under the 2024 Revolver were “substantially less than Goldman Sachs’

 7   compensation in connection with the Merger[.]” Id. at 6. Plaintiff is satisfied that this disclosure

 8   has alerted Redfin shareholder to the existence of these fees and their magnitude. Id. at 3. Yet

 9   Plaintiff still maintains that the proxy statement is misleading because it “fails to inform Redfin

10   stockholders about the size of Goldman’s present and anticipated lending commitment to

11   Rocket.” Id.

12                                                    III

13                                               DISCUSSION

14   A.     Legal Standard

15          A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

16   clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc.,

17   555 U.S. 7, 23 (2008). To obtain a preliminary injunction, the plaintiff must show (1) they are

18   “likely to succeed on the merits”; (2) they are “likely to suffer irreparable harm in the absence

19   of” a preliminary injunction”; (3) “the balance of equities tips in [their] favor”; and (4) a

20   preliminary injunction “is in the public interest.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1127

21   (9th Cir. 2009) (quoting Winter, 555 U.S. at 20) (these are called the Winter factors). The Ninth

22   Circuit has added that “if a plaintiff can only show that there are ‘serious questions going to the

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              The Court takes judicial notice of this filing because it “can be accurately and readily
24   determined from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2).


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 1   merits’—a lesser showing than likelihood of success on the merits—then a preliminary

 2   injunction may still issue if the ‘balance of hardships tips sharply in the plaintiff’s favor,’ and the

 3   other two Winter factors are satisfied.” Shell Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281,

 4   1291 (9th Cir. 2013) (quoting All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir.

 5   2011)).

 6             1.     Likelihood of Success on Merits

 7                    a.     Section 14(a) Claim

 8             Section 14(a) of the Securities Exchange Act of 1934 and SEC rule 14a–9 “disallow the

 9   solicitation of a proxy by a statement that contains either (1) a false or misleading declaration of

10   material fact, or (2) an omission of material fact that makes any portion of the statement

11   misleading.” 2 Desaigoudar v. Meyercord, 223 F.3d 1020, 1022 (9th Cir. 2000). “An omitted

12   fact is material if there is a substantial likelihood that a reasonable shareholder would consider it

13   important in deciding how to vote.” TSC Indus., Inc. v. Northway, Inc., 426 U.S. 438, 449

14   (1976). Said differently, “there must be a substantial likelihood that the disclosure of the omitted

15   fact would have been viewed by the reasonable investor as having significantly altered the ‘total

16   mix’ of information made available. Id. “The ‘total mix’ of information normally includes

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              Section 14(a) provides in pertinent part:
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18                   It shall be unlawful . . . in contravention of such rules and regulations as the
            Commission may prescribe as necessary or appropriate in the public interest or for the
19          protection of investors, to solicit or to permit the use of his name to solicit any proxy or
            consent or authorization in respect of any security (other than an exempted security)
20          registered pursuant to section 78l of this title.
     15 U.S.C. § 78n(a). Rule 14a-9 provides in pertinent part:
21                   No solicitation subject to this regulation shall be made by means of any proxy
            statement . . . containing any statement which, at the time and in the light of the
22          circumstances under which it is made, is false or misleading with respect to
            any material fact, or which omits to state any material fact necessary in order to make the
            statements therein not false or misleading or necessary to correct any statement in any
23          earlier communication with respect to the solicitation of a proxy for the same meeting or
            subject matter which has become false or misleading.
24   17 CFR § 240.14a-9.


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 1   information that is and has been in the readily available general public domain and facts known

 2   or reasonably available to the shareholders.” In re Textainer P’ship Sec. Litig., 2005 WL

 3   3801596, at *6 (N.D. Cal. Dec. 12, 2005) (quoting Kapps v. Torch Offshore, Inc., 379 F.3d 207,

 4   216 (5th Cir. 2004)); see Greenhouse v. MCG Cap. Corp., 392 F.3d 650, 656 (4th Cir. 2004) (“It

 5   is important to note that a ‘reasonable investor’ is neither an ostrich, hiding her head in the sand

 6   from relevant information, nor a child, unable to understand the facts and risks of investing.”).

 7          After Defendants issued supplemental disclosures to the proxy statement, Plaintiff

 8   maintains the proxy is still misleading because it “fails to inform Redfin stockholders about the

 9   size of Goldman’s present and anticipated lending commitment to Rocket.” Dkt. # 46 at 3. And,

10   according to Plaintiff, this is a material omission because shareholders need this information “to

11   evaluate the magnitude of Goldman Sachs’ potential conflict, and weigh for themselves the

12   credibility of Goldman Sachs’ fairness opinion in light of that conflict.” Dkt. # 23 at 17.

13          The Court cannot agree that the size of Goldman Sachs’s present and anticipated lending

14   commitment to Rocket is a material omission based on the “total mix” of information that is

15   already available to investors. The supplemental disclosures to the proxy statement are publicly

16   available and say Goldman Sachs and Rocket have an existing lending relationship under “a

17   revolving credit facility that has remained undrawn since March 9, 2023 (with respect to which

18   Goldman Sachs and its affiliates have received commitment and upfront fees substantially less

19   than Goldman Sachs’ compensation in connection with the Merger).” Dkt. # 47 at 6. The

20   supplemental disclosures also inform investors that they should consider additional information

21   in “each company’s filings with the SEC, including each company’s most recent Annual Report

22   on Form 10-K, as it may be updated from time to time by quarterly reports on Form 10-Q and

23   current reports on Form 8-K, all of which are available at the SEC’s website

24   http://www.sec.gov.” Id. at 7. Rocket’s publicly available Form 10-K for the fiscal year ended


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 1   December 31, 2024, includes the 2024 Revolver between Rocket, Goldman Sachs, and ten other

 2   lenders with a total commitment of $1.15 billion dollars. 3 Rocket’s Form 10-Q for the quarterly

 3   period ended March 31, 2025 is likewise publicly available. 4 Exhibit 10.6 of this document

 4   states that Rocket terminated its 2024 Revolver on April 30, 2025 and will enter a new revolving

 5   credit agreement upon completion of the pending merger between Rocket and Mr. Cooper

 6   Group, Inc. (the 2025 Revolver). Id. This document also discloses that the new revolving credit

 7   agreement has a total commitment of up to $2.25 billion dollars and is between Rocket, Goldman

 8   Sachs, and 18 other lenders. Id.

 9          In addition, the supplemental disclosures to the proxy statement alert shareholders to this

10   litigation. Dkt. # 47 at 5 (“On May 9, 2025, an additional case was filed by a purported

11   individual stockholder of Redfin on behalf of himself and others similarly situated in the United

12   States District Court for the Western District of Washington, captioned Morano v. Redfin, No.

13   25-cv-883 (“Morano”)).” The docket and all current filings in this case are available to the

14   public. So the declaration of Pete Mareskas in Support of Rocket Companies Inc.’s Opposition,

15   much like Rocket’s filings with the SEC, is readily available and within the public domain; it

16   was also filed on the docket before the supplemental disclosures were issued. Dkt. # 41.

17   Although Goldman Sachs’s specific commitment under the 2024 and 2025 Revolvers is redacted

18   in the SEC filings, the Mareskas declaration says, “Goldman’s commitment to the 2024 revolver

19   was less than 15% of the total aggregate commitment.” Id. at 3. The declaration adds that

20   “Goldman’s commitment under the initial commitment of the 2025 revolver is identical to the

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                Rocket Companies, Inc., 2024 Form 10-K, filed with the SEC on March 3, 2025, available at
              https://www.sec.gov/ix?doc=/Archives/edgar/data/0001805284/000180528425000010/rkt-
23   20241231.htm (Exhibit 10.22 shows the 2024 Revolver).
              4
                Rocket Companies, Inc., 2024 Form 10-Q, filed with the SEC on May 9, 2025, available at
     https://www.sec.gov/ix?doc=/Archives/edgar/data/0001805284/000180528425000065/rkt-20250331.htm.
24


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 1   2024 revolver.” Id. at 4. Links to the 2024 and 2025 Revolvers and the total commitment under

 2   these credit facilities are also provided in the declaration. Id. at 2–4.

 3          All in all, the “total mix” of information available to investors explains that Rocket and

 4   Goldman Sachs were involved in a revolving credit facility with a total commitment of $1.15

 5   billion dollars when Goldman Sachs prepared the Fairness Opinion. See Dkt. # 4 at 263

 6   (Fairness Opinion was issued on March 9, 2025). Rocket has also informed investors that it

 7   intends to enter a revolving credit facility with Goldman Sachs that has a total commitment of

 8   $2.25 billion dollars. The fact that Goldman Sachs’s commitment to the 2024 Revolver and

 9   initial commitment to the 2025 Revolver is less than 15% of the total commitment is likewise

10   within the public domain. Redfin shareholders can use this information to evaluate the

11   magnitude of any potential conflict between Goldman Sachs and Redfin, and Redfin

12   shareholders can decide for themselves whether this potential conflict influenced the credibility

13   of the Fairness Opinion. See Dkt. # 23 at 17.

14          Accordingly, disclosure of “the size of Goldman’s present and anticipated lending

15   commitment to Rocket” would not alter the “total mix” of information available to the

16   reasonable investor because this information is already publicly available. Dkt. # 46 at 3.

17   Plaintiff even acknowledges the public availability of this information in his briefing. Dkt. # 52

18   at 2 (“[I]t remains possible to provide adequate disclosure to Redfin stockholders concerning the

19   size of Goldman’s present and anticipated lending commitment to Rocket using information

20   already publicly disclosed in the Marekas Declaration[.]”). Thus, the omission of this

21   information is not material. This conclusion is bolstered because Plaintiff concedes that the

22   disclosure of nearly identical information “would moot Plaintiff’s disclosure claim with respect

23   to the size of Goldman’s present and anticipated lending commitment to Rocket.” Id. Plaintiff

24   does not show a likelihood of success on the merits of his Section 14(a) claim because he does


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 1   not identify a material omission. See also Sanchez v. IXYS Corp., 2018 WL 4787070, at *3

 2   (N.D. Cal. Oct. 2, 2018) (“Publicly available information cannot be a material omission under

 3   federal securities laws.”) (collecting cases).

 4                   b.      Section 20(a) Claim

 5           Liability under Section 20(a) of the Securities Exchange Act of 1934 is “obviously

 6   derivative of liability” under some other provision of the statute. 5 Morrison v. Nat’l Australia

 7   Bank Ltd., 561 U.S. 247, 253 n.2 (2010). The only other provision of the Exchange Act that

 8   Plaintiff brings a claim under is Section 14(a), and Plaintiff does not show a likelihood of

 9   success on his Section 14(a) claim. Section III.1.a, supra; see Dkt. # 1 at 15–19. Thus, Plaintiff

10   does not show a likelihood of success on the merits of his Section 20(a) claim.

11                   c.      Delaware State Law Claim 6

12           Under Delaware law, “in order for a plaintiff to state properly a claim for breach of a

13   disclosure duty by omission, he must ‘plead facts identifying (1) material, (2) reasonably

14   available (3) information that (4) was omitted from the proxy materials.’” Orman v. Cullman,

15   794 A.2d 5, 31 (Del. Ch. 2002) (quoting O’Reilly v. Transworld Healthcare, Inc., 745 A.2d 902,

16   926 (Del. Ch. 1999)). And “for purposes of Delaware law, a material omission is by definition

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                Section 20(a) provides in pertinent part:
              Every person who, directly or indirectly, controls any person liable under any provision of
19            this chapter or of any rule or regulation thereunder shall also be liable jointly and severally
              with and to the same extent as such controlled person to any person to whom such
20            controlled person is liable (including to the Commission in any action brought under
              paragraph (1) or (3) of section 78u(d) of this title), unless the controlling person acted in
21            good faith and did not directly or indirectly induce the act or acts constituting the violation
              or cause of action.
22   15 U.S.C. § 78t(a).
              6
                To the extent Defendants argue Plaintiff does not show a likelihood of success on this claim
     because it was brought in the wrong forum, Defendants are mistaken. Lee v. Fisher, 70 F.4th 1129, 1139
23   n.5 (9th Cir. 2023) (plaintiffs can seek enforcement in federal court of “the substantive obligation to
     refrain from making false or misleading statements in a proxy statement under Delaware law.”).
24


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 1   an omission that alters the total mix of information available.” In re Columbia Pipeline Grp.,

 2   Inc., 2021 WL 772562, at *36 (Del. Ch. Mar. 1, 2021).

 3           Plaintiff’s claim under Delaware law fails for the same reason his Section 14(a) claim

 4   fails. The size of Goldman Sachs’s current and anticipated lending commitment to Rocket is

 5   publicly available information so the disclosure of this information would not change the “total

 6   mix” of information available to investors. Thus, this is not a material omission under Delaware

 7   law and Plaintiff does not show a likelihood of success on this claim.

 8           2.      Other Winter Factors

 9           Likelihood of success on the merits “is a threshold inquiry” and “is the most important”

10   Winter factor. Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (en banc). If there are

11   no “serious questions going to the merits,” All. for the Wild Rockies, 632 F.3d at 1134–35, the

12   court need not consider the other Winter factors, see Disney Enters., Inc. v. VidAngel, Inc., 869

13   F.3d 848, 856 (9th Cir. 2017).

14           Plaintiff does not raise serious questions going to the merits of any of his claims, so the

15   Court need not consider the other Winter factors. Even if the Court did consider these factors,

16   Plaintiff’s arguments are premised on an uninformed shareholder vote taking place. Dkt. # 23 at

17   20–22. But Plaintiff does not show an uninformed shareholder vote will occur in the absence of

18   a preliminary injunction. See Section III.1, supra. Thus, these other factors do not weigh in

19   Plaintiff’s favor and the Court will not issue the requested injunction. 7

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               The balance of hardships also tips strongly in Defendants’ favor. If the injunction were to be
     granted, Redfin shareholders could receive substantially less for their shares than they can currently
22   expect to receive—or no premium at all. Dkt. # 17-1 at 16 (Redfin shareholders stand to receive “a
     premium of approximately 63% over the volume weighted average price of Redfin common stock for the
     30 trading days ending March 7, 2025, the last trading day prior to the announcement of the Merger
23   Agreement.”). A delay of the vote would also “impose other significant logistical problems and expenses
     upon Redfin and its employees.” Dkt. # 39 at 2. And “Redfin runs the risk of losing valuable employees
24   if the proposed merger is delayed.” Id. The extent of Plaintiff’s claimed potential hardship is an


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 1                                                    IV

 2                                               CONCLUSION

 3           For these reasons, the Court DENIES Plaintiff’s Motion for Preliminary Injunction. Dkt.

 4   # 23.

 5           Dated this 3rd day of June, 2025.

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 7                                                          John H. Chun
                                                            United States District Judge
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     uninformed shareholder vote. Dkt. # 43 at 13–14. But Plaintiff does not show an uninformed shareholder
24   vote will take place in the absence of an injunction. Section III.1, supra.


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